  Case 21-30589-MBK Doc 1460 Filed 02/10/22 Entered 02/11/22 00:14:38                                 Desc
                     Imaged COURT
UNITED STATES BANKRUPTCY    Certificate of Notice Page 1 of 19
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-2(c)




                                                                          Order Filed on February 8, 2022
                                                                          by Clerk
                                                                          U.S. Bankruptcy Court
                                                                          District of New Jersey



In Re:                                                   Case No.:                       21-30589
 LTL Management LLC
                                                         Adv. No.:

                                                          Hearing Date:

                                                          Judge:                    Michael B. Kaplan


          ORDER AUTHORIZING RETENTION OF THE BRATTLE GROUP, INC. AS TALC
                                
            CONSULTANTS TO THE OFFICIAL COMMITTEE OF TALC CLAIMANTS I

         The relief set forth on the following pageis hereby ORDERED.




DATED: February 8, 2022
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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY
  Caption in Compliance with D.N.J. LBR 9004-1(b)
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  In re:
                                                          Chapter 11
  LTL MANAGEMENT, LLC,
                                                          Case No.: 21-30589(MBK)
                                   Debtor.
                                                          Honorable Michael B. Kaplan



         ORDER AUTHORIZING RETENTION OF THE BRATTLE GROUP, INC. AS
      TALC CONSULTANTS TO THE OFFICIAL COMMITTEE OF TALC CLAIMANTS I


           The relief set forth on the following page is ORDERED.
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  This Court, having considered (i) the Application for Retention of The Brattle Group, Inc. as Talc
  Consultants for the Official Committee of Talc Claimants I (the “Application”) and (ii) the Certification of
  Yvette Austin Smith in Support of Application for Retention of The Brattle Group, Inc. as Talc Consultants
  to the Official Committee of Talc Claimants I (the “Austin Smith Certification”) and is of the opinion that
  The Brattle Group, Inc. (“Brattle”) does not hold or represent any interest adverse to the estates, that Brattle
  is a disinterested person within the definition of 11 U.S.C. § 101(14), that Brattle’s employment is in the
  best interest of the Official Committee of Talc Claimants I (the “TCC I”), and that no further hearing on the
  Application is required. Upon the applicant’s request for authorization to retain Brattle as Talc Consultants
  to TCC I, it is hereby ORDERED:

  1.       The Application is GRANTED as set forth herein.


  2.       Pursuant to sections 328(a) and 1103 of the Bankruptcy Code, Rule 2014 of the Federal Rules of
  Bankruptcy Procedure (the “Bankruptcy Rules”) and Rule 2014-1 of the Local Rules of Bankruptcy Practice
  and Procedure of the United States Bankruptcy Court for the District of New Jersey (the “Local Rules”),
  TCC I is authorized and empowered to employ and retain, and the Debtor is authorized to compensate and
  reimburse Brattle as TCC I’s talc consultant in the above-captioned chapter 11 case upon the terms and
  conditions set forth in the Application.


  3.       Brattle shall keep its time records in tenth-of-an-hour increments in accordance with Local Rule
  2016-2 of this Court and shall otherwise comply with the requirements of that Local Rule, as well as
  Bankruptcy Rule 2016(a), and the United States Trustee Fee Guidelines.


  4.       Brattle shall apply for compensation in accordance with the procedures set forth in the applicable
  provisions of the Bankruptcy Code, the Bankruptcy Rules, Local Rules, this Order and any applicable orders
  of this Court. Brattle’s services are subject to the standard of review set forth in section 330 of the
  Bankruptcy Code.


  5.       Brattle is entitled to reimbursement of actual and necessary expenses, including legal fees related
  to this retention application and future fee applications as approved by this Court.


  6.       The terms and conditions of this Order shall be immediately effective and enforceable upon its
  entry.
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  7.       The Committee and Brattle are authorized and empowered to take all actions necessary to
  implement the relief granted in this Order.
  8.       The Court retains jurisdiction with respect to all matters arising from our related to the
  implementation of this Order.


  9.       The applicant is authorized to retain the above party in the professional capacity noted.
           The professional’s address is:
                    7 Times Square
                    Suite 1700
                    New York, NY 10036

  10.      Compensation will be paid in such amounts as may be allowed by the Court on proper
           application(s).

  11.      If the professional requested a waiver as noted below, it is ‫ ܆‬Granted ‫ ܆‬Denied.

           ‫ ܆‬Waiver, under D.N.J. LBR 2014-2(b), of the requirements of D.N.J. LBR 2016-1.

           ‫ ܆‬Waiver, under D.N.J. LBR 2014-3, of the requirements of D.N.J. LBR 2016-1 in a chapter 13
           case. Payment to the professional may only be made after satisfactory completion of services.

  12.      The effective date of retention is January 15, 2022.




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                                                              United States Bankruptcy Court
                                                                  District of New Jersey
In re:                                                                                                                 Case No. 21-30589-MBK
LTL Management LLC                                                                                                     Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0312-3                                                  User: admin                                                                 Page 1 of 14
Date Rcvd: Feb 08, 2022                                               Form ID: pdf903                                                            Total Noticed: 4
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Feb 10, 2022:
Recip ID                   Recipient Name and Address
db                     +   LTL Management LLC, 501 George Street, New Brunswick, NJ 08933-0001
aty                    +   Glenn M. Kurtz, White & Case LLP, 1221 Avenue of the America, New York, NY 10020-1001
aty                    +   Jessica Lauria, White & Case LLP, 1221 Avenue of the America, New York,, NY 10020-1001
aty                    +   Rayburn, Cooper & Durham, P.A., The Carillon, Suite 1200, 227 West Trade St., Charlotte, NC 28202-1672

TOTAL: 4

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Feb 10, 2022                                            Signature:           /s/Joseph Speetjens




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on February 8, 2022 at the address(es) listed
below:
Name                               Email Address
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Adam S. Ravin
          Case 21-30589-MBK            Doc 1460 Filed 02/10/22 Entered 02/11/22 00:14:38                                               Desc
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Date Rcvd: Feb 08, 2022                                     Form ID: pdf903                                                            Total Noticed: 4
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Date Rcvd: Feb 08, 2022                                       Form ID: pdf903                                                          Total Noticed: 4
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Date Rcvd: Feb 08, 2022                                     Form ID: pdf903                                                          Total Noticed: 4
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Date Rcvd: Feb 08, 2022                                     Form ID: pdf903                                                        Total Noticed: 4
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TOTAL: 316
